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       Attorneys for Defendant and Counterclaimant,
   6   Covves, LLC
   7

   8                        UNITED STATES DISTRICT COURT
   9                       CENTRAL DISTRICT OF CALIFORNIA
  10    BLM PRODUCTS, LTD.,                        Case No. 2:17-cv-06224-RGK-PLA
  11                   Plaintiff,                  JOINT STIPULATION
              v.                                   GRANTING DEFENDANT AND
  12                                               COUNTERCLAIMANT
        COVVES, LLC,                               COVVES, LLC LEAVE TO
  13                                               FILE FIRST AMENDED
                       Defendant.                  COUNTERCLAIMS
  14
                                                   [Proposed] Order Filed
  15                                               Concurrently Herewith
  16                                               Judge: Honorable R. Gary Klausner
  17

  18    COVVES, LLC,
  19                   Counterclaimant,
              v.
  20
        BLM PRODUCTS, LTD.,
  21
                       Counterdefendant.
  22

  23

  24         IT IS HEREBY STIPULATED by and between Plaintiff and Counter-
  25   Defendant BLM Products, Ltd. (“BLM”) and Defendant and Counterclaimant,
  26   Covves, LLC (“Covves”), through their respective attorneys of record (collectively,
  27   “the Parties”), that Covves may file its First Amended Counterclaims, a copy of
  28   which is attached hereto as Exhibit A.
                                                            STIPULATION FOR LEAVE FOR COVVES
                                                               TO FILE AMNDED COUNTERCLAIMS
                                                                (CASE NO. 2:17-CV-06224-RGK-PLA)
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   1         IT IS FURTHER STIPULAETD that Covves will file its First Amended
   2   Counterclaims within five (5) calendar days of the Court’s Order permitting such
   3   filing, and that BLM’s response thereto shall be filed within fourteen (14) days after
   4   the First Amended Counterclaim is filed.
   5

   6   IT IS SO STIPULATED.
   7

   8
       ATTESTATION: Pursuant to L.R. 5-4.3.4, the filer attests that concurrence in the
   9
       filing of this document has been obtained from the signatories thereto.
  10

  11                                              Respectfully submitted,
       Dated: December 26, 2017
  12                                              THE MCARTHUR LAW FIRM, P.C.
  13

  14                                              By      /s/ Stephen McArthur
                                                       Stephen McArthur
  15                                                   Attorneys for Defendant and
                                                       Counterclaimant,
  16                                                   Covves, LLC
  17
                                                  MEADOR & ENGLE
  18
       Dated: December 26, 2017
  19                                              By: __/s/ Alan Engle __ _______
                                                      Alan E. Engle
  20                                                  Attorneys for Plaintiff and
                                                      Counterdefendant,
  21                                                  BLM PRODUCTS, LTD.
  22

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                                                              STIPULATION FOR LEAVE FOR COVVES
                                                                 TO FILE AMNDED COUNTERCLAIMS
                                                                  (CASE NO. 2:17-CV-06224-RGK-PLA)
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                        EXHIBIT A
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   7

   8                        UNITED STATES DISTRICT COURT
   9                      CENTRAL DISTRICT OF CALIFORNIA
  10

  11    BLM PRODUCTS, LTD.,                       Case No. 2:17-cv-06224-RGK-
                                                  PLA
  12                   Plaintiff,
                                                  DEFENDANT COVVES, LLC’S
  13          v.                                  [PROPOSED] FIRST
                                                  AMENDED COUNTERCLAIMS
  14    COVVES, LLC,                              FOR:
  15                   Defendant.                 (1) Patent Infringement
  16                                              (2) Copyright Infringement
  17

  18

  19
        COVVES, LLC,
  20
                       Counterclaimant,
  21
              v.
  22
        BLM PRODUCTS, LTD., a
  23    Canadian corporation; and MARK
        BROWN, an individual
  24
                       Counterdefendants.
  25

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  28
                                                                 [PROPOSED] FIRST AMENDED
                                                                              COUNTERCLAIMS
                                            -1-               Case No. 2:17-cv-06224-RGK-PLA
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   1         Defendant and Counterclaimant Covves, LLC (“Covves”) hereby asserts
   2   counterclaims against Plaintiff and Counterdefendant BLM Products, Ltd. (“BLM”)
   3   and Counterdefendant Mark Brown (collectively, “Counterdefendants”) as follows:
   4                                    A.       Introduction
   5        1. This action arises out of Counterdefendants’ intentional and willful
   6   decision to infringe Covves’ patented and copyrighted giant unicorn-shaped float,
   7   which is sold under the name, “#FLOATY Giant Unicorn.”
   8        2. Covves sells high-quality inflatable pool toys under the “#FLOATY”
   9   brand name. Covves’ #FLOATY Giant Unicorn was one of the most popular
  10   inflatable pool toys of 2017. This toy has a unique patented design, which is
  11   protected by Design Patent No. D787,617. In addition, the rainbow color
  12   arrangement on the mane and tail of #FLOATY Giant Unicorn are protected by
  13   federal copyright, application number 1-6131019589.
  14        3. Without compensating Covves or obtaining a license, Counterdefendants
  15   illegally misappropriated the patented and copyrighted design of the #FLOATY
  16   Giant Unicorn to create an intimation unicorn pool float, which Counterdefendants
  17   sold under the name, “Captain Floaty Giant Unicorn Pool Float” on Amazon.com.
  18   Counterdefendants’ “Captain Floaty Giant Unicorn Pool Float” closely mimics the
  19   design of Covves’ #FLOATY Giant Unicorn and includes the same copyrighted
  20   color arrangement on the mane and tail.
  21        4. In or around June 2017, Covves notified Amazon.com that it believed
  22   that Counterdefendants’ “Captain Floaty Giant Unicorn Pool Float” infringed
  23   Covves’ #FLOATY Giant Unicorn. Shortly thereafter, Covves contacted
  24   Counterdefendants and notified them of the infringement, but Counterdefendants
  25   refused to cease selling their product.
  26        5. To this day, Counterdefendants continue to sell their “Captain Floaty
  27   Giant Unicorn Pool Float” in blatant disregard of Covves’ patent and copyright
  28
                                                                     [PROPOSED] FIRST AMENDED
                                                                                  COUNTERCLAIMS
                                                   -2-            Case No. 2:17-cv-06224-RGK-PLA
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   1   ownership in the #FLOATY Giant Unicorn.
   2         6. Accordingly, due to Counterdefendants’ willful infringement, Covves
   3   has no choice but to file these counterclaims, which seek damages that it has
   4   suffered as a result of Counterdefendants’ patent and copyright infringement.
   5                                     B.     Jurisdiction
   6         7. Covves asserts a counterclaim for patent infringement pursuant to the
   7   patent laws of the United States, 35 U.S.C. §§ 1 et seq., including 35 U.S.C. § 271.
   8   Covves also asserts a counterclaim for copyright infringement pursuant to the
   9   Copyright Act of the United States, 17 U.S.C. § 101, et seq.
  10         8. The Court has subject matter over both federal counterclaims pursuant to
  11   28 U.S.C. §§ 1331 and 1338(a).
  12         9. BLM is subject to the personal jurisdiction of this Court, and venue is
  13   proper in this District under 28 U.S.C. § 1391(b) and 28 U.S.C. § 1400(a), by
  14   virtue of the Complaint that BLM filed in this Court and BLM’s significant
  15   contacts with this forum. On information and belief, BLM transacts business in
  16   California and in this judicial district, offers products for sale and use in California
  17   and in this district, and BLM has caused injury to Covves and its intellectual
  18   property in California and in this district.
  19         10. Mark Brown is subject to the personal jurisdiction of this Court, and
  20   venue is proper in this District under 28 U.S.C. § 1391(b) and 28 U.S.C. § 1400(a),
  21   by virtue of Mr. Brown’s significant contacts with this forum. On information and
  22   belief, Mr. Brown is the owner and president of BLM, which transacts business in
  23   California and in this judicial district, offers products for sale and use in California
  24   and in this district. Mr. Brown has caused injury to Covves and its intellectual
  25   property in California and in this district.
  26                                      C.     The Parties
  27         11. Covves is a limited liability company, duly organized and existing under
  28   the laws of the State of California, located at 23145 Kashiwa Court, Torrance,
                                                                         [PROPOSED] FIRST AMENDED
                                                                                      COUNTERCLAIMS
                                                      -3-             Case No. 2:17-cv-06224-RGK-PLA
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   1   California 90505. Covves sells recreation flotation devices and toys under the
   2   “#FLOATY” brand name through its website, www.getfloaty.com, as well as
   3   online retailers, including Amazon.com.
   4         12. On information and belief, BLM is a corporation organized and existing
   5   under the laws of British Columbia, Canada, with its principal place of business at
   6   1105-689 Abbott St., Vancouver, British Columbia, Canada, V6B 0J2. BLM sells
   7   recreational flotation devices through Amazon.com and other online channels
   8   under its “Captain Floaty” brand.
   9         13. On information and belief, at all times relevant herein, Mark Brown, an
  10   individual residing in British Columbia, Canada, has been the president, founder,
  11   owner, director, and/or an officer of BLM and was personally aware of, and
  12   authorized, approved, directed, controlled, ratified, participated in, and instigated
  13   the wrongful conduct alleged in these counterclaims. At all times relevant herein,
  14   Mr. Brown conducted business in the State of California, County of Los Angeles.
  15                      D.        Facts Common to All Counterclaims
  16         14. Covves’ “#FLOATY Giant Unicorn (hereinafter “the Infringed Float”) is
  17   one of its best-selling toys. The design of the Infringed Float is protected by
  18   Design Patent No. D787,617 (“the ‘D617 Patent”), issued on May 23, 2017.
  19   Covves is the assignee of record of the ‘D617 Patent and owns all rights, title, and
  20   interest in this patent.
  21         15. In addition, the arrangement of colors on the mane and tail of the
  22   Infringed Float is protected as a work of graphic art under the Copyright Act,
  23   application number 1-6131019589. At all times relevant herein, Covves has owned
  24   the rights and title to this copyright in the Infringed Float.
  25         16. In or around June 2017, it came to Covves’ attention that BLM was
  26   selling a product called “Captain Floaty Giant Unicorn Pool Float” on
  27   Amazon.com. The photos that BLM posted on Amazon.com of its “Captain Floaty
  28   Giant Unicorn Pool Float” appear to be photos of the Infringed Float. On
                                                                           [PROPOSED] FIRST AMENDED
                                                                                        COUNTERCLAIMS
                                                   -4-                  Case No. 2:17-cv-06224-RGK-PLA
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   1   information and belief, BLM took photos of the Infringed Float and posted those
   2   photos on Amazon.com to mislead consumers into believing that BLM was selling
   3   the Infringed Float, when in actuality, BLM was selling a product that closely
   4   mimicked the Infringed Float.
   5         17. Covves inspected “Captain Floaty Giant Unicorn Pool Floats” sold by
   6   BLM and discovered that the design of BLM’s “Captain Floaty Giant Unicorn
   7   Pool Float” is substantially the same as the design claimed by the ‘D617 Patent
   8   and embodied in the Infringed Float. Like the Infringed Float, BLM’s “Captain
   9   Floaty Giant Unicorn Pool Float” features a unicorn head emerging from the front
  10   of an inflatable tube and a unicorn tail emerging from the back of the tube. The
  11   shape of the unicorn head and tail on BLM’s “Captain Floaty Giant Unicorn Pool
  12   Float” also closely resemble the shape of the unicorn head and tail on the Infringed
  13   Float.
  14         18. The design of BLM’s “Captain Floaty Giant Unicorn Pool Float” is so
  15   similar to the design of the Infringed Float that customers have been deceived into
  16   buying BLM’s “Captain Floaty Giant Unicorn Pool Float,” mistakenly believing
  17   that they are buying the Infringed Float. This consumer confusion has caused
  18   enormous and irreparable harm to Covves and has eroded the goodwill that Covves
  19   has built in the Infringed Float and “#FLOATY” brand.
  20         19. Neither BLM nor Mr. Brown have a license for the ‘D617 Patent or the
  21   copyright in the Infringed Float, or any other authorization to sell, offer to sell,
  22   manufacture, or distribute the Infringed Float.
  23         20. In or around June 2017, Covves notified Amazon.com that it believed
  24   that BLM’s “Captain Floaty Giant Unicorn Pool Float” infringed the ‘D617 Patent.
  25   Covves duly complied with the procedures implemented by Amazon.com for
  26   reporting intellectual property infringement and provided Amazon with a copy of
  27   the ‘D617 Patent. Amazon.com responded to Covves’ report by removing the
  28   listing to BLM’s “Captain Floaty Giant Unicorn Pool Float” from its website.
                                                                         [PROPOSED] FIRST AMENDED
                                                                                      COUNTERCLAIMS
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   1         21. Through its attorney, Covves informed BLM that its “Captain Floaty
   2   Giant Unicorn Pool Float” infringed the ‘D617 Patent and asked that BLM
   3   immediately cease selling that product. Mr. Brown, BLM’s president, refused to
   4   comply with Covves’ request and said that he had already paid his manufacturer to
   5   produce thousands of “Captain Floaty Giant Unicorn Pool Floats.” Covves then
   6   proposed a licensing arrangement that would enable BLM to recoup its
   7   manufacturing costs, but Mr. Brown rejected this proposal.
   8         22. On information and belief, BLM is continuing to sell its “Captain Floaty
   9   Giant Unicorn Pool Floats” through online channels other than Amazon.com, even
  10   though BLM is aware that this product infringes the ‘D617 Patent and Covves’
  11   copyright in the Infringed Float. Covves is entitled to injunctive relief and
  12   damages for BLM’s willful infringement of the ‘D617 Patent and Covves’
  13   copyright in the Infringed Float.
  14         23. On information and belief, Mr. Brown actively and knowingly
  15   participated in and caused BLM’s sale of the “Captain Floaty Giant Unicorn Pool
  16   Float.” He was and continues to direct, control, ratify, and participate in BLM’s
  17   infringement of the ‘D617 Patent and Covves’ copyright in the Infringed Float. He
  18   was responsible for BLM’s sale of the “Captain Floaty Giant Unicorn Pool Float,”
  19   and is therefore personally liable for BLM’s infringement of the ‘D617 Patent and
  20   Covves’ copyright in the Infringed Float.
  21               E.     Counterclaim I – Infringement of the ‘D617 Patent
  22         24. By this reference, Covves realleges and incorporates each and every
  23   averment contained in paragraphs 1 through 23, inclusive.
  24         25. Counterdefendants have infringed, and continue to infringe the ‘D617
  25   Patent, by offering to sell, selling, or importing, in this District, and elsewhere in
  26   the United States, the “Captain Floaty Giant Unicorn Pool Float,” the design of
  27   which is substantially the same as the ornamental design of the ‘D617 Patent.
  28         26. The actions of Counterdefendants constitute infringement of the ‘D617
                                                                         [PROPOSED] FIRST AMENDED
                                                                                      COUNTERCLAIMS
                                                   -6-                Case No. 2:17-cv-06224-RGK-PLA
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    1   Patent in violation of 35 U.S.C. § 271.
    2            27. Covves has sustained damages, and will continue to sustain damages, as
    3   a result of the aforementioned acts of infringement by Counterdefendants. Covves
    4   is entitled to recover damages sustained as a result of Counterdefendants’ wrongful
    5   acts, in an amount to be proven at trial.
    6            28. Counterdefendants’ infringement of Covves’ rights under the ‘D617
    7   Patent will continue to damage Covves’ business, causing irreparable harm, for
    8   which there is no adequate remedy at law, unless Counterdefendants are enjoined
    9   by this Court.
   10            29. Counterdefendants have willfully infringed the ‘D617 Patent, entitling
   11   Covves to increased damages under 35 U.S.C. § 284 and to attorneys’ fees and
   12   costs incurred in prosecuting this action under 35 U.S.C. § 285.
   13            30. Alternatively, Covves is entitled to recover Counterdefendants’ total
   14   profits from the sales of the “Captain Floaty Giant Unicorn Pool Float” under 35
   15   U.S.C. § 289.
   16                      F.     Counterclaim II – Copyright Infringement
   17            31. By this reference, Covves realleges and incorporates each and every
   18   averment contained in paragraphs 1 through 30, inclusive.
   19            32. Counterdefendants had access to the Infringed Float, including, without
   20   limitation, through third-party retailers such as Amazon.com.
   21            33. Through the conduct averred herein, Counterdefendants have infringed
   22   Covves’ copyright in the Infringed Float in violation of Sections 106 and 501 of
   23   the Copyright Act, 17 U.S.C. §§ 106 and 501.
   24            34. Counterdefendants’ acts of infringement are willful, intentional and
   25   purposeful, in disregard of and with indifference to Covves’ rights.
   26            35. As a direct and proximate result of said infringement by
   27   Counterdefendants, Covves is entitled to damages in an amount to be proven at
   28   trial.
                                                                          [PROPOSED] FIRST AMENDED
                                                                                       COUNTERCLAIMS
                                                     -7-               Case No. 2:17-cv-06224-RGK-PLA
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    1        36. As a direct and proximate result of Counterdefendants’ foregoing acts
    2   and conduct, Covves has sustained, and will continue to sustain, substantial,
    3   immediate, and irreparable injury, for which there is no adequate remedy at law.
    4   Covves is informed and believes, and on that basis avers that, unless enjoined and
    5   restrained by this Court, Counterdefendants will continue to infringe Covves’
    6   copyright in the Infringed Float. Covves is entitled to preliminary and permanent
    7   injunctive relief to restrain and enjoin Counterdefendants’ continuing infringing
    8   conduct.
    9                                 PRAYER FOR RELIEF
   10         Covves prays for judgment against Counterdefendants as follows:
   11      1. For a judgment finding Counterdefendants liable for infringement of the
   12   ‘D617 Patent.
   13      2. For a judgment finding Counterdefendants liable for infringement of the
   14   copyright in the Infringed Float.
   15      3. For a preliminary and permanent injunction prohibiting Counterdefendants,
   16   their agents, servants, and any and all parties acting in concert with any of them,
   17   from directly or indirectly infringing the ‘D617 Patent in any manner, pursuant to
   18   35 U.S.C. § 283.
   19      4. For a preliminary and permanent injunction prohibiting Counterdefendants,
   20   their agents, servants, and any and all parties acting in concert with any of them,
   21   from infringing Covves’ copyright in the Infringed Float.
   22      5. For an award of damages adequate to compensate Covves for
   23   Counterdefendants’ infringement of the ‘D617 Patent, in an amount to be proven at
   24   trial, or in the alternative, an award of Counterdefendants’ total profits under 35
   25   U.S.C. § 289.
   26      6. For an award of treble Covves’ patent infringement damages, pursuant to 35
   27   U.S.C. § 284.
   28      7. For an award of damages adequate to compensate Covves for
                                                                        [PROPOSED] FIRST AMENDED
                                                                                     COUNTERCLAIMS
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    1   Counterdefendants infringement of Covves’ copyright in the Infringed Float, as
    2   may be found at trial, or as otherwise permitted by law.
    3      8. For an accounting of, and the imposition of constructive trust with respect to,
    4   Counterdefendants’ profits attributable to its infringements of Covves’ copyright in
    5   the Infringed Float.
    6      9. Plaintiffs’ attorneys’ fees and costs of this action, pursuant to 35 U.S.C. §
    7   285.
    8      10. For an award of Covves’ costs in asserting these counterclaims, pursuant to
    9   all applicable state statutory and common law, including 35 U.S.C. § 284.
   10      11. For an award of prejudgment interest according to law, including pursuant
   11   to 35 U.S.C. § 284.
   12      12. For an award of post-judgment interest, pursuant to 28 U.S.C. § 1961(a).
   13      13. For such other and further relief as the Court deems just and equitable.
   14                             DEMAND FOR JURY TRIAL
   15          Covves demands trial by jury on all claims and issues so triable.
   16

   17
        DATED: December 26, 2017                    Stephen C. McArthur
   18                                               THE MCARTHUR LAW FIRM
   19

   20                                               By:        /s/ Stephen C. McArthur
                                                            STEPHEN C. MCARTHUR
   21
                                                    Attorney for Counterclaimant, Covves,
   22                                               LLC
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                                                                        [PROPOSED] FIRST AMENDED
                                                                                     COUNTERCLAIMS
                                                  -9-                Case No. 2:17-cv-06224-RGK-PLA
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    1                              CERTIFICATE OF SERVICE
    2   I, Valerie McConnell, declare:
    3         I am a citizen of the United States and employed in Los Angeles County,
    4   California. I am over the age of eighteen years and not a party to the within-entitled
    5   action. My business address is 400 Corporate Pointe, 3 rd Floor, Culver City,
    6   California 90230. On December 26, 2017, I served a copy of Joint Stipulation
    7   Granting Defendant Covves, LLC Leave to File First Amended Counterclaims by
    8   electronic transmission.
    9         I am familiar with the USDC Central District’s practice for collecting and
   10   processing electronic filings. Under that practice, documents are electronically
   11   filed with the court. The court’s CM/ECF system will generate a Notice of
   12   Electronic Filing (NEF) to the filing party, the assigned judge, and any registered
   13   users in the case. The NEF will constitute service of the document. Registration as
   14   a CM/ECF user constitutes consent to electronic service through the court’s
   15   transmission facilities.
   16         Executed on December 26, 2017, at San Mateo, California.
   17

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   19
                                               /s/ Valerie McConnell
                                               Valerie McConnell
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                                                               STIPULATION FOR LEAVE FOR COVVES
                                                                  TO FILE AMNDED COUNTERCLAIMS
                                                                   (CASE NO. 2:17-CV-06224-RGK-PLA)
